        Case 23-01997                    Doc 9          Filed 02/17/23 Entered 02/17/23 08:46:49                                          Desc Ch 13 First
                                                                  Mtg Page 1 of 2
Information to identify the case:

                       Robert Robin Rojas                                                       Social Security number or ITIN:      xxx−xx−7694
Debtor 1:
                                                                                                EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:              Magdiell De Cristo Rojas                                                 Social Security number or ITIN:      xxx−xx−3383
(Spouse, if filing)                                                                             EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

United States Bankruptcy Court:     Northern District of Illinois                                   Date case filed for chapter:            13        2/16/23

Case number:          23−01997

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                                10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                         About Debtor 2:
1. Debtor's full name                              Robert Robin Rojas                                                      Magdiell De Cristo Rojas

2. All other names used in the
   last 8 years
                                                   4930 W Newport                                                          4930 W Newport
3. Address                                         Chicago, IL 60641                                                       Chicago, IL 60641
                                                                                                                           Contact phone _____________
4. Debtor's  attorney
   Name and address
                                                   Pro Se                                                                  Email: NONE

5. Bankruptcy trustee                              Thomas H. Hooper                                                        Contact phone 312−294−5900
     Name and address                              Office of the Chapter 13 Trustee
                                                   55 E. Monroe St.
                                                   Suite 3850
                                                   Chicago, IL 60603

6. Bankruptcy clerk's office                                                                                               Hours open:
     Documents in this case may be filed           Eastern Division                                                        8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                              219 S Dearborn                                                          Sundays and legal holidays.
     You may inspect all records filed in          7th Floor                                                               Contact phone 1−866−222−8029
     this case at this office or online at         Chicago, IL 60604                                                       Date: 2/17/23
      https://pacer.uscourts.gov.
                                                                                                                                   For more information, see page 2




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Debtor Robert Robin Rojas and Magdiell De Cristo Rojas                                                                                   Case number 23−01997
7. Meeting of creditors
    Debtors must attend the meeting to     March 22, 2023 at 02:00 PM                                        Location:
    be questioned under oath. In a joint                                                                     Appear by Video Conference. Visit,
    case, both spouses must attend.                                                                          www.13network.com, Scroll to Illinois −
    Creditors may attend, but are not      The meeting may be continued or adjourned to a                    Thomas H. Hooper
    required to do so.                     later date. If so, the date will be on the court
                                           docket.
                                           Debtors must bring a picture ID and proof of
                                           their Social Security Number.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 5/22/23
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 4/27/23
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 8/15/23
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The hearing on confirmation will be held on: 4/11/23 at 10:30 AM , Location: Courtroom 742, 219 S. Dearborn
                                           St, Chicago, IL 60604 or Using Zoom. To appear by video, use this link: https://www.zoomgov.com/ or to
                                           appear by telephone, call Zoom for Government at 1−669−254−5252 or 1−646−828−7666. Then enter the
                                           meeting ID 161 155 8289 and passcode Doyle742.
                                           The debtor has not filed a plan as of this date. A copy of the plan will be sent separately.


                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you
                                           believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                           deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




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